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                  EXHIBIT 22
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           DEPARTMENT OF HEALTH& HUMAN SERVICES                                       office Of inspector   General




                                                                                      Memorandum
Date      JAN 311991
From      June Gibbs Bro
                                       b
          Inspector Gener
Subject
                         &                  8“
          Review of Pharrnac/Acquisition Costs for Drugs Reimbursed Under the Medicaid
          Prescription Drug Program of the District of Columbia Department of Human Services
To        (A-06-95-OO064)

          Bruce C. Vladeck
          Administrator
          Health Care Financing Administration


          Attached for your information and use is our final report entitled, “Review of Pharmacy
          Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug
          Program of the District of Columbia Department of Human Services.” This review was
          conducted as part of a nationwide audit of pharmacy drug acquisition costs at the Health
          Care Financing Administration’s request. Most States reimburse pharmacies for
          Medicaid prescriptions using a formula which generally discounts the average
          wholesale price (AWP) by 10.5 percent. The objective of our review was focused on
          developing an estimate of the discount below AWP at which pharmacies purchase brand
          name and generic drugs.

          The District of Columbia Department of Human Services (District) was 1 of 11 States
          randomly selected as part of the nationwide review. District of Columbia reported drug
          expenditures of $28.3 million in Calendar Year 1994.

          Through statistical sampling, we obtained pricing information from 13 District of
          Columbia pharmacies. We obtained 343 invoice prices for brand name drugs, and 156                 4
          invoice prices for generic drugs. The overall estimate of the extent that AWP exceeded
          pharmacy purchase invoice prices was 17.3 percent for brand name drugs and
          43.8 percent for generic drugs. The national estimates are 18.3 percent and
          42.5 percent, respectively. The estimates combine the results for four categories of
          pharmacies including rural-cha@ rural-independent, urban-ch@ and urban-
          independent pharmacies. The estimates exclude the results obtained from
          non-traditional pharmacies (nursing home pharmacies, hospital pharmacies, home IV,
          etc.) because such pharmacies purchase di-ugsat substantially greater discounts than
          retail pharmacies, and including them would have inappropriately inflated our
          percentages.

          We are recommending that the District consider the results of this review as a factor in
          any future changes to pharmacy reimbursement for Medicaid drugs.
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Page 2- Bruce C.-Vladeck

In response to our draft report, the Commissioner of the District Commission of Health
Care Finance had some concerns about the report, but stated that the District would
consider the results of our review when contemplating filmre Medicaid Drugs. The
complete text of the Director’s comments are included in Appendix 4.

We welcome any comments you have on this report. If you have any questions, call me
or have your staff contact George M. Reeb, Assistant Inspector General for Health Care
Financing Audits, at (410)786-7104.

To facilitate identification, please refer to Common Identification Number
A-06-95-OO064.

Attachment
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     Department of Health and Human Services

                OFFICE OF
           INSPECTOR. GENERAL




    REVIEW OF PHARMACY ACQUISITION  COSTS
        FOR DRUGS REIMBURSED UNDER THE
     MEDICAID PRESCRIPTION DRUG PROGRAM
                    OF THE
     DISTRICT OF COLUMBIA DEPARTMENT OF
                HUMAN SERVICES
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                    _. -

                                           SUMMARY

A     t the request of the Health Care Financing Administration (HCFA), the Office of Inspector
      General (OIG) conducted a nationwide review of pharmacy acquisition costs for drugs
reimbursed under the Medicaid prescription drug program. Since most States reimburse
pharmacies for Medicaid prescriptions using a formula which discounts the average wholesale
price (AWP), the objective of our review was to develop an estimate of the discount below AWP
at which pharmacies purchase brand name and generic drugs.

To accomplish our objective, we selected a random sample of 11 States from a universe of
48 States and the District of Columbia. Arizona was excluded from the universe of States
because the Medicaid drug program is a demonstration project using prepaid cavitation financing
and Tennessee was excluded because of a waiver received to implement a statewide managed
care program for Medicaid. The District of Columbia was one of the sample States selected, as
well as Californi~ Delaware, Florida, Maryland, Missouri, Montana, Nebraska, New Jersey,
North Carolina, and Virginia.

Additionally, we selected a sample of Medicaid pharmacy providers from each State and
obtained invoices of their drug purchases. The pharmacies were selected from each of five
categories--rural-chain, rural-independent, urban-chain, urban-independent and non-traditional
pharmacies (nursing home pharmacies, hospital pharmacies, etc.). We included the non-
traditional category so as to be able to exclude those pharmacies from our overall estimates. We
believed such pharmacies purchase drugs at substantially greater discounts than retail
pharmacies, and including them would have inflated our percentages.

We compared each invoice drug price to AWP for that drug and calculated the percentage, if any,
by which the invoice price was discounted below AWP. We then projected those differences to
the universe of pharmacies in each category for each State and calculated an overall estimate for
each State. Additionally, we projected the results from each State to estimate the nationwide
difference between AWP and invoice price for each category.

In the District of Columbia, we obtained pricing information from 13 District of Columbia
pharmacies. Specifically, we obtained 343 invoice prices for brand name drugs, and 156 invoice
prices for generic drugs. For the District of Columbia, the overall estimate of the extent that
invoice prices were discounted below AWP was 17.3 percent for brand name drugs and
43.8 percent for generic drugs. The national estimates are 18.3 percent and 42.5 percent,
respectively. The national estimates combine the results for four categories of pharmacies
including rural-chain, rural-independent, urban-chain and urban-independent. The District of
Columbia estimates do not include any rural categories as the District has no rural areas. The
estimates exclude the results obtained from non-traditional pharmacies.

  Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                        of the District of Columbia Department of Human Services
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        We are recomrnendingthat the District of Columbia Department of Human Services (District)
        consider the results of this review as a factor in any future changes to pharmacy reimbursement
        for Medicaid drugs. We will share the information with HCFA from all 11 States in a
        consolidation report for their use in evaluating the overall Medicaid drug program.

        The Commissioner of the District Commission of Health Care Financing responded to our draft
        report in a letter dated November 26, 1996. While the Commissioner had some concerns about
        the report, he stated that the District would consider the results of our review when
        contemplating fiture changes to the pharmacy reimbursement for Medicaid drugs. The complete
        text of the Commissioner’s comments are included in Appendix 4.




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                                     INTRODUCTION
At the request of HCFA, OIG, Office of Audit Services (OAS) conducted a review of pharmacy
acquisition costs for drugs reimbursed under the Medicaid prescription drug program of the
District of Columbia Department of Human -Services (District). The objective of our review was
to develop an estimate of the difference between the actual acquisition costs of drugs and AWP.
This review was conducted as a pfi of a nationwide review of pharmacy acquisition costs. The
District of Columbia was 1 of 11 States randomly selected as part of the nationwide review.

BACKGROUND

Medicaid regulations provide for the reimbursement of drugs using two methods. If a drug is a
multiple source (generic) drug, then reimbursement is based on the lower of the pharmacist’s
usual and customary charge to the general public or an upper limit amount plus a dispensing fee.
The Federal upper limit amounts are established by HCFA. If a drug is a single source (brand
name) drug, or a generic drug for which an upper limit amount has not been established, then the
reimbursement is the lower of the pharmacist’s usual and customary charge to the general public
or the estimated acquisition cost (EAC) plus a reasonable dispensing fee. The State agencies are
responsible for determining the EAC and the dispensing fee.

The EAC for most States is calculated by using AWP for a drug less some percentage. The
AWP is the price assigned to the drug by its manufacturer and is listed in either the Red Book,
Medispan or the Blue Book--publications universally used in the pharmaceutical industry. Prior
to 1984, most States used 100 percent of AWP for reimbursement of acquisition costs. However,
OIG issued a report in 1984 which stated that, on average, pharmacies purchased drugs for
15.9 percent below AWP. In 1989, OIG issued a follow-up report which concluded that
pharmacies were purchasing drugs at discounts of 15.5 percent below AWP. Both the 1984 and
1989 reports combined brand name and generic drugs in calculating the percentage discounts and
included a comparison of 3,469 and 4,723 purchases, respectively.

In 1989, HCFA issued a revision to the State Medicaid Manual which pointed out that a
preponderance of evidence demonstrated that AWP overstated prices that pharmacies actually
paid for drugs by as much as 10 to 20 percent. The Manual tier      provided that, absent valid
documentation to the contrary, it would not be acceptable for a State to make reimbursements
using AWP without a significant discount.

In November 1990, the Omnibus Budget Reconciliation Act of 1990 was passed which placed a
4-year moratorium on changes to States’ reimbursement policies. The moratorium expired on
December 31, 1994 and HCFA requested that we, once again, determine the dWference between
AWP and actual pharmacy acquisition cost.


  Review of Pharmacy AcquisitionCostsforDrugsReimbursedUnderthe MedicaidPrescriptionDrugProm
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        The District reported drug expenditures of $28.3 million in Calendar Year (CY) 1994.

        SCOPE

        Our review was performed in accordance with generally accepted government auditing standards.
        The objective of our review was,to develop “h estimate of the difference between AWP and the
        actual invoice prices of both brand name and generic prescription drugs to Medicaid pharmacy
        providers. Our objective did not require that we identifi or review any internal control systems.

        Our review was limited to ingredient acquisition costs and did not address other areas such as:
        the effect of Medicaid business as a contribution to other store sales; the cost to provide
        professional services other than dispensing a prescription such as therapeutic interventions,
        patient education, and physician consultation; and the cost of dispensing which includes costs for
        computers, multi-part labels, containers, technical staff, transaction fees, Medicaid specific
        administrative costs, and general overhead. We also did not take into consideration the effect of
        Federal upper limit amounts on generic drug reimbursements or usual and customary charge
        limitations. We plan to evaluate the effect of the Federal upper limit amounts on generic drug
        reimbursements in a subsequent review.

        We obtained a listing of all Medicaid pharmacy providers from the District. The District was
        responsible for classi~ing each pharmacy as chain, independent or non-traditional. For purposes
        of this review, a chain was defined as four or more pharmacies with common ownership. We
        determined whether each pharmacy was rural or urban by comparing the county location for each
        pharmacy to a December 31, 1992 listing of metropolitan areas and their components. The
        District of Columbia had no rural areas. We selected a stratified random sample of 12
        pharmacies from each of 3 strata--urban-chain, urban-independen~ and non-traditional (nursing
        home pharmacies, hospital pharmacies, home IV, etc.). The non-traditional category contained
        only three pharmacies and we selected all of those pharmacies. We included the non-traditional
        category so as to be able to exclude those pharmacies from our estimates. We believed that such
        pharmacies are able to purchase drugs at substantially greater discounts than a retail pharmacy
        and would inflate our estimate. The nationwide review included two more strata-rural-chain and
        rural-independent.

        We requested, from each pharmacy selected, the largest invoice from each different source of
        supply for a specified month in CY 1994. We identified the sources of supply as wholesalers,
        chain warehouse distribution centers, generic distributors, and direct manufacturer purchases.
        Each pharmacy was initially assigned a month from January through September in order to
        provide a cross-section of this 9-month time period. However, we permitted some pharmacies to
        provide invoices horn October as invoices were not available from the earlier period.




          Review of Pharmacy Acquisition Costs for Drugs Reimbursed
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We reviewedeverylineit~mon theinvoices supplied by the sample pharmacies to ensure that
the invoices contained the information necessay for our review. We eliminated    over-the-counter
items.Some invoices    didnotinclude   National Drug Codes (NDC), which were needed to obtain
AWP for the drug. We attempted to obtain NDCS in those instances. We used the 1994 Red
Book, a nationally recognized reference for drugproduct and pricing information, to obtain
NDCS or identifi over-the-counter items. one prominent wholesaler, whose invoices contained
that wholesaler’s item number rathpr than NDCS, provided us with a listing that converted their
item number to an NDC. If we were unable to identifi the NDC for a drug, we eliminated the
drug. TMS was a common occurrence for generic drugs where there was no indication on the
invoice as to the manufacturer of the drug.

We obtained a listing from HCFA that indicated whether a drug is a brand name or generic drug.
We used that listing to classi~ each drug on the invoices as brand or generic. If a drug was not
on the HCFA listing, we used the Red Book to determine whether the drug was brand or generic.
Additionally, we obtained drug expenditure information from HCFA-64 Reports.

The State of Missouri provided us with a pricing file for the purpose of obtaining the AWP for
each drug. We compared the invoice drug price to AWP for each drug and calculated the
percentage, if any, by which the invoice price was discounted below AWP. If a drug from an
invoice was not on the pricing file we eliminated that drug.

An initial meeting was held in Richmond, Virginia on August 30-31, 1994, with Medicaid
pharmacy representatives from the sample States. At this meeting, we presented a methodology
for performing the review and the methodology was refined with input from the State
representatives. At a follow-up meeting held in Richmond, Virgini~ on September 27-28,
1995, we presented the results of our review with the sample States.

We used OAS statistical computer software to calculate all estimates as well as to generate all
random numbers. We did not independently veri~ any information obtained from third party
sources. C)urreview was conducted by our L~ttleRock, Arkansas OAS field oflice with
assistance from our OAS field offices in Baton Rouge, Louisian~ and Austin, Texas from
September 1994 to September 1995.




  Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                        of the District ofColumbia  Dep@ent ofHuman Services
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                            F-&DINGSAND RECOMMENDATIONS
BRAND NME                   DRUGS

We estimate that invoice prices for brand name drugs were discounted 17.3 percent below
Awl?. The estimate combined all pharmacy categories except non-traditional pharmacies and
was based on the comparison to AWP of 343 invoice prices received Iiom 13 pharmacies. The
standard deviation for this estimate was 1.28 percent (see Appendix 2).

The estimates of the discount below AWP of invoice prices for brand name drugs are
summarized in the following graph:

                                                          Estimated             Difference



         25


         20      ““”


         1s      ““”


         ~o      ““”


           5     “’          NA                     NA


                B
           o    v                                    Ru,.1
                                                                                                                                                  /
                            Rur.1                                     vi- b.”                U*..            NO”-TretiltiO”ml
                                                                                                                                          0“.,.81
                                                                                                                                         (Excludl”o
                            Chmln            I“a.   p.na.   nt        cl-i.in         Irld-e-”d-”t                 (No”T)
                                                                                                                                            No”T)




The following graph shows the number of pharmacies sampled and the number of prices
reviewed by individual category for brand name drugs.


                                                                 Number     of                                          Prices    from
                                                     Sample          Pharmacies                                    Sample      Pharmacies


                                                                                       NA                               NA
                 Rural-Chain

                                                                                        NA                             NA
      Rural-    lndepend          Bnt

                                                                                         s
                Urban-Chain

                                                            10
      Urbmn-lndapandant

                                                                                                     1
          Non-T        redltlonal

                                             1s
      Ovarall       (Exc.    Non T]
                                        v                                                                v                                                           /
                                        14          ’12     10    s      0        4          2           m   50      400     1S0   200      250       300   350   400




   Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                         of the District of Columbia Department of Human Services
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    GENERIC DRUGS

    We estimate that invoice prices for generic drugs were discounted 43.8 percent below AWP.
    Once again the estimate combined all pharmacy categories except non-traditional pharmacies.
    The estimate was based on the comparison to AWP of 156 invoice prices received from 13
    pharmacies. The standard deviation for this estimate was 1.74 percent (see Appendix 2).

    The estimates of the discount below AWP of invoice prices for generic dru~s are summarized by




                       .
                       ,.,
    individual categories in the following graph:      -          -

                                                                      Estimated            Difference




              701’..’1 ““””””
                          ““””’ ““””””’””’””
                                        ““””””””””””””’’’””””’”
                                                  ““””””””’”’’””””’””””””””57:1
              60




                       3
              50
                         ,..’
              40

                        ,..’
              30


              20
                         ,.. -               NA                   NA
              10


               0   v                                                                                                                                         /
                                     Rurml                         Rural          Urbmn            urban             NOn-TradltlO”ml           Ov.    r.11
                                     Chmln                   Ind-p.mndent         Chain        Indmp.   ndent             (NonT)               (Excl”din~
                                                                                                                                               NonT)



    The following graph shows the number of pharmacies sampled and the number of prices
    reviewed by individual category for the generic drugs.
                                                                    Number     of                                     Pricss       from
                                                    Sample              Pharmacies                        Sample               Pharmacies



                                                                                          NA                    NA
               Rural-Chain                         ,..

                                                                                          NA                    NA
    Rural-    lndapondent




                                              “1
              Urban-Chain


    Urban-Independent


        Non-Traditional

                                                         3                                                                                                         15e
    Overall     (Exe.          Non    T)
                                             b=                                                 I/                                                                 /
                                              15                    10            5             0    20    40    eo      80    100     120   140     160         fao




       Review of Pharmacy Acquisition Costs for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                             of the District of Columbia Department of Human Services
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                 CONCLUSIONSAND RECOMMENDATION
Based on our review, we have determined that there is a significmt difference between AWP and
pharmacy acquisition costs. The difference between AWP and pharmacy acquisition costs is
significantly greater for generic drugs than-for brand name drugs. In general, State
representatives believed that the kqview supported current State practices to establish pharmacy
reimbursement for ingredient cost at levels below AWP.

We recognize that acquisition cost is just one factor in pharmacy reimbursement policy and that
any change to that policy should also consider the other factors discussed in the Scope section of
our report. Additionally, the effect of Federal upper limit amounts on generic drug
reimbursements or usual and customary charge limitations should be taken into consideration.
However, a change in any of the factors affecting pharmacy reimbursement could have a
significant impact on expenditures because of the size of the program ($28.3 million) in the
District of Columbia. We believe that the difference between AWP and pharmacy acquisition
costs as determined by our review is significant enough to warrant consideration by the State in
any evaluation of the drug program. Therefore, we recommend that the District consider the
results of this review in determining any future changes to pharmacy reimbursement for
Medicaid drugs.

STATE AGENCY COMMENTS

The Commissioner of the District Commission of Health Care Financing responded to our drail
report in a letter dated November 26, 1996. While the Commissioner had some concerns about
the report, he stated that the District would consider the results of our review when
contemplating fbture changes to the pharmacy reimbursement for Medicaid drugs. Specifically,
the Commissioner expressed concern that (1) the District sample was too small, (2) the Federal
upper limits were not considered for this study, (3) the conversion of invoice “item” numbers to
NDCS was inadequately explained in relaticm to other States’ wholesalers, and (4) the elimination
of generic drugs without NDCS made it unclear as to which generic drugs provided the basis for
our conclusion. The complete text of the Commissioner’s comments are included in Ap@ndix 4.

OIG RESPONSE

The primary objective of our review was to develop a nationwide estimate of the discount below
AWP at which Medicaid pharmacies purchased prescription drugs. The nationwide projections
are based on over 28,000 invoice prices obtained from 315 pharmacies. We provided reports on
the individual State results as a courtesy to the participating States.




  Review of Pharmacy Acquisition Costs for &ugs Reimbursed Under the Medicaid
                                                                            Prescription
                                                                                    DrugProgram
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     We agree the Federal upper limits have a significant impact on reimbursement to Medicaid
     pharmacies. As we stated in the scope sectionof our report, we plan to evaluate the effect of
     Federal upper limit amounts on generic drugs in a subsequent review. However, Federal upper
     limits have no impact on what pharmacies pay for drugs and as such would have no relationship
     to our audit objective.
                                               -..,
     We stated in the Scope Section of,our report
                                                thatone wholesaler
                                                                 providedus witha listing
                                                                                       that
     convertedtheir
                  itemnumberstoNDCS. We didnotstate thatwe usedthatwholesalers
     itiormation                           itemnumbers,butrather
               toconvertany otherwholesalers                           thatwe usedthe
                                                               we stated
     1994 Red Book to obtain NDCS.

     The nationwideestimate
                          ofthediscountbelow AWP atwhich Medicaidpharmacies      purchase
     genericdrugsisbasedon thecomparisonof 9,075 invoice prices to AWP. These 9,075 prices
     would have come from invoices that identified the NDC or from invoices that we were able to
     identify the NDC.




       Review of Pharmacy Acquisition CoSts for Drugs Reimbursed Under the Medicaid Prescription Drug Program
                             of the District of Columbia Department of Human Services
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                            APPENDICES
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                                                                           APPENDIX I
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                            SAMPLE DESCJUPTION

Sample Objectives:

      Develop an estimate of the discount below Average Wholesale Prices (AWP) of actual
      invoice prices to Medicaid pharmacies in District of Columbia for brand name drugs and
      for generic drugs.

Population:

     The sampling population was pharmacy providers participating in the Medicaid
     prescription drug program of the District.

Sampling Frame:

     The sampling frame was a listing of all pharmacy providers participating in the Medicaid
     prescription drug program.

Sample Design:

     A sample of 12 pharmacies was to be selected from each of 5 strata. The five strata of
     pharmacies were rural-chain, rural-independent, urban-chain, urban-independent, and
     non-traditional (nursing home pharmacies, hospital pharmacies, home IV, etc.). The
     District of Columbia had no rural areas so the two rural strata were eliminated. The non-
     traditional category contained only three pharmacies and we selected all of those
     pharmacies. Each pharmacy was assigned a month from 1994 for which to provide
     invoices. All pharmacies were initially assigned a month from January through
     September in a method designed to provide a cross-section of the 9-month period.
     However, some pharmacies were permitted to submit invoices from October as invoices
     were not available for the month originally assigned. The largest invoice from each of
     four different sources of supply was requested. The sources of supply wereidentified   w
     wholesalers, chain warehouse distribution centers, generic distributors, and direct
     manufacturer purchases. All invoice prices were comp~ed to AWP.
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Sample Size:                             -..
                                          -.
                               ,.
      Thirteen pharmacies were selected from each of the 2 urban strata and 1 pharmacy was
      selected from the non-traditional stratum for a total of 14 pharmacies.

Source of Random Numbers:

      OAS statistical sampling software was used to generate the random numbers.

Characteristics to be Measured:

      From our review of the pharmacy invoices, we calculated the percentage of the discount
      below AWP of actual invoice prices for all drugs on the invoices submitted.

Treatment   ofMissing Sample Items:
     No spare was substituted for a pharmacy that did not provide information. If a pharmacy
     did not send an invoice for a particular type of supplier, we assumed that the pharmacy
     did not purchase drugs from that type of supplier during the month assigned to the
     pharmacy.

Estimation Methodolo~:

     We used OAS Statistical Software LOproject the percentage of the discount below AWP
     of actual invoice prices for each stratum, as well as an overall percentage difference. The
     overall percentage difference excluded the non-traditional pharmacies. The projections
     were done separately for brand name drugs and generics.

Other Evidence:

      We obtained AWP from First DataBank.
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                                                                 APPENDIX 2
             DISTRICT OF COLUMBIA          SAMPLE RESULTS
                 BRAND NAME AND GENERIC DRUGS




                           NA     NA     NA     NA        NA         NP
                                                                           mNA


                           NA     NA     NA     NA        NA         NA      NA


                            74     3     185    18.3      3.86     14.7!   21.92


                            56    10     158    15.8      2.60     14.61   17.07


                             3     1     117    20.9      0.00     20.9(   20.90


                           130    13     343    17.3      1.28     15.1!   19.37




                           NA    NA      NA     NA        NA         NA      NA


                           NA    NA      NA     NA        NA         NA      NP


                           74     3       75    46.8      0.81     46.0:   47.5!


                           56     10      81    39.8     13.97     33.2C   46.3[


                            3      1     26     57.1      0.00     57.lC   57.1(


                           130    13     156    43.8      1.74     40.93   46.(X
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                                                              APPENDIX3
                    NATIONWIDE         SAMPLE RESULTS
                  BRAND NAME AND GENERIC DRUGS




                                                                            m
                                                                            m
                         1,095    73        5,723   17.4C    1.05   15.67   19.13


                         1,499    78       3,043    16.3S    1.07   14.63   18.15


                         8,194    73        7,198   18.45    0.52   17.60   19.31


                         6242     91       3,009    18.71    0.90   17.22   20.19


                         2,026    M         1,762   27.52    2.28   23.76   31.27


                        17,030   315       18,973   18.3C    0.66   17.21   19.38




                         1,095    73       2,963    47.51    1.63   44.82   50.20


                         1,499    78        1,798   47.38    0.93   45.85   48.92


                         8,194    72       2,634    37.61    2.82   32.97   42.26


                         6242     91        1,680   46.72    2.44   ~2.70   50.73


                        2,026     59        IZ62    57.7C    1.98   54.43   60.96


                        17,030   314       9,075    42.45    0.90   40.97   43.93
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                                                DEPARTMENT        OF HUMAN   SERVICES
                                                     WASHINGTON. D.C. 20002



                                                                                                       INREPLYREFERTCJ


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                                                :        Commission  on Health Care Finance
                                                         2100 Martin Luther King Avenue, S.E.
                                                         Suite 302
                                                         Washington,  D.C.   20020




              George M. Reeb
              Assistant  Inspector General for
                Health Care Financing Audits
              N2-25-26
              7500 Security Boulevard
              Baltimore,  Md. 21244-1850


              Dear   Mr.   Reeb:

                   The District of Columbia Commission on Health Care Finance
              acknowledges receipt of the draft report on pharmacy acquisition
              costs for drugs reimbursed under the D.C. Medicaid Pharmacy
              Program.  As you stated in your introductory letter, this review
              was initiated to develop an estimate /of the difference between
              the actual acquisition costs of drugs at the pharmacies and
              average wholesale price (AWP) for both brand name and generic
              drugs.

                   Your report reviewed the original Health Care Financing
              Administration’s (HCFA) aforementioned request and the
              methodology chosen to satisfy that request.                —

                   As a result of our participation in the mrrent  study,
              several program criteria were acknowledged as impacting the data.
              A major concern was the quantity of pharmacies in the sample.
              Out of about 300 pharmacy providers participating in the D.C.
              Medicaid Prescription Drug Program, 14 sent back invoices (10
              independent, 3 chain and 1 non-traditional pharmacy). Only 13
              pharmacies were used in making the calculations. Wholesaler
              invoices were sent to the Office of the Inspector General (OIG)
              for comparisons to the State of Missouri’s pricing file for the
              purpose of obtaining the AWP for each drug. I am concerned about
              the size of the sample in relation to the total pharmacies
              requested to forward information.




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      Additional      concerns rela$e to the report’s        “SCOPE1l
section.    They     are th~,following:

       o   The Federal Upper Limits were not taken into
           consideration for this study. This has an impact on
           pricing, as HCFA adopted a federal upper limit (FUL)
           ceiling price for certain m~’ltiple source drugs based on
           the application of a specific formula.   A multiple
           source drug is a drug marketed or sold by two or more
           manufacturers or labelers. This pricing methodology
           is based on the least costly therapeutic equivalent.
           It would definitely reduce the reimbursement rate by
           State Medicaid Programs, as these prices would supersede
           the AWP based pricing rate for generic medications.

       o   The OIG converted invoice ~fitemt’
                                            or catalog numbers
           to National Drug Codes (NDCS). This was accomplished
           by using a wholesaler’s provider listing. The report
           states a prominent wholesaler was used. However, the
           conversion methodology and its relationship to other
           states’ wholesalers are not identified.

       o   If the OIG was unable to identify the NDC, the drug was
           eliminated from the review. This was a common occurrence
           for generic drugs which had no identification on the
           wholesaler’s invoice as to the manufacturer.               As a
           result, it is not clear         which generic     drugs provided
           the basis     for the conclusion       that  the AWP exceeded
           invoice   prices    for generic     drugs   by 43.8 per cent     in the
           District of Columbia.

     Given these concerns, the Commission has some misgivings                 as
to the weight that should be attached to this report.
tkvertheless, we will take it into account when contemplating
future changes to pharmacy reimbursement for Medicaid drugs.

                                        Sincerely,



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                                        Paul Offn
                                        Commission&r


cc :   Wayne Casey, Interim Director, DHS
       Donna Bovell, Pharmacy Consultant,
        CHCF
